       Case 1:09-cv-05257-ERK Document 14 Filed 08/18/16 Page 1 of 2 PageID #: 83




MANDATE
                                                                                            E.D.N.Y.—Bklyn.
                                                                                                  09-cv-5257
                                                                                                  Korman, J.


                              United States Court of Appeals
                                                    FOR THE
                                             SECOND CIRCUIT
                                             _________________

                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 21st day of June, two thousand sixteen.

     Present:
                    Dennis Jacobs,
                    Guido Calabresi,
                    Reena Raggi,
                         Circuit Judges.

     Luis Angel Ramos,

                                    Petitioner,

                    v.                                                              16-1285

     United States of America,

                                    Respondent.


     Petitioner moves for leave to file a successive 28 U.S.C. § 2255 motion. Upon due consideration,
     it is hereby ORDERED that the motion is DENIED because Petitioner has not satisfied the criteria
     set forth in 28 U.S.C. § 2255(h).

     Petitioner has not made a prima facie showing that he can satisfy the successive motion
     requirements with respect to his proposed claim based on Johnson v. United States, 135 S. Ct.
     2551 (2015) (holding that the imposition of an enhanced sentence under the residual clause of the
     Armed Career Criminal Act (“ACCA”) violates the Due Process Clause). Under this Court’s
     case law, Petitioner’s conviction for conspiracy to commit Hobbs Act robbery under 18 U.S.C.
     § 1951 satisfied the definition of “crime of violence” because it required “the use, attempted use,
     or threatened use of physical force” under 18 U.S.C. § 924(c)(3)(A). See United States v.
     DiSomma, 951 F.2d 494, 496 (2d Cir. 1991) (holding that a conviction for conspiracy to commit
     Hobbs Act robbery was a crime of violence within the meaning of the Bail Reform Act, 18 U.S.C.
     § 3143(b)(2), because “one of its elements is actual or threatened use of force”; further stating that,
     “if the element of violence is not present, no [robbery] conviction under section 1951 can occur”).



MANDATE ISSUED ON 08/16/2016
  Case 1:09-cv-05257-ERK Document 14 Filed 08/18/16 Page 2 of 2 PageID #: 84




Accordingly, even assuming, arguendo, that Johnson invalidated § 924(c)(3)(B), that decision
does not impact Petitioner’s firearms conviction.

Finally, because Petitioner’s other two convictions are for crimes under statutes that do not have
provisions similar to the ACCA’s residual clause, Johnson does not affect their validity.

                                             FOR THE COURT:
                                             Catherine O’Hagan Wolfe, Clerk




                                                2
